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              Exhibit 3
September 12, 2020 Email from Marty
        Tripp to Alex Spiro




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Jeanine Zalduendo

From:                           Alex Spiro
Sent:                           Tuesday, September 22, 2020 9:50 PM
To:                             Jeanine Zalduendo
Subject:                        Fw: We are sending you $1,188.29




Sent from my BlackBerry - the most secure mobile device
From: mtprotons@protonmail.com
Sent: September 12, 2020 2:01 AM
To: alexspiro@quinnemanuel.com
Reply-to: mtprotons@protonmail.com
Subject: RE: We are sending you $1,188.29

                                                 [EXTERNAL EMAIL]


Alex, I sent this email nearly a month ago and received a read receipt from you, but then no further
communication. You have not provided any means for me to transfer money to you. In the interim, I was asked
by a number of my latest donors to use the funds they provided to cover our living expenses. We had a number
of issues come up which have required us to set these funds aside to help us through the winter. My Family
comes first, and winters are extremely expensive here, just as they are anywhere else.

In no way am I required to give you any particular funds, such as the gofundme donations. I am only required
to pay the balance of $25,000. I currently have around $10 USD available to transfer, but depending on how
you request it be transferred, may not even have enough to cover any transfer fees. I can say that with the
current circumstances I am facing (having to find a new place to move to due to separation from my Wife) I
will not be able to pay the balance ordered by the court. I DO find it comical that you all thought you could
'hurt' me by going after the gofundme funds, and find it odd that you believed those funds just sat there waiting
to be withdrawn. I thought you were an educated man.

With this being said, what will it take to settle this case and be done? And no, I will not pay any money to
tesla or musk, and definitely will not issue an apology to them for the baseless accusations and lies, including
doxxing they have done to me.

What I WILL consider is that they issue an apology for previous employees who went out of their way to harm
myself and my Family, and pay a fair amount to compensation for lost wages for what I consider is a fair two
years, of what I would have made based on my previous time clock history, because I literally cannot gain
employment anywhere thanks to this bullshit. This two years is the MINIMUM time we had planned to stay in
the Reno area from around May 2018.

If tesla/musk cannot/will not settle, then we will continue on this path. It is only continued bad publicity for
them, and I will continue to speak out. I am in talks with several major production companies, several high
traffic podcasts, an ever growing 'blue check mark' 'awakening' on twitter, and several other social networking
platforms, that you might not even know about, YET. Part 2 of the latest podcast, which I'm sure you or your
team have listened to the 1st, is being edited as I type this, and I am not holding back (It is still over 2 hours,
with another one or two parts to come). Some of the productions that are 'in the works' include some pretty big

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names in LA, NYC, and Chicago. I will continue reaching out to anyone that wants to hear my story, as well as
other stories, and will continue speaking to the MANY that are contacting me each day now. Surprisingly it is
growing extremely fast now!

I'm interested in seeing what emergency motions you will try to submit, and have a feeling will ultimately fail,
and again make you all look bad.

This is my proposal:
-Tesla drops the lawsuit, issues an apology on its website blog that they were given improper information from
their previous employees, leading them to believe false facts, and specifically apologize for putting myself and
Family through the 'gigafactory threat' ordeal.
-Provide, as stated in the Eulman interview, a 'hardship' compensation package that covers an average pay over
the course of 2 years from May 2018 to NOW, based on the average pre tax salary I was making, including
overtime.
-Refund the following: All gofundme donations made to me by donors, and pay the owed balance to my
litigation financier.
-Musk personally apologizing to me either via video chat or in person (he can afford the travel expense).

If I agree that these terms are met, I will:
-Remove all social media accounts
-Cease communications with all producers, writers, persons of public interest, etc.
-Will close all social media accounts (particularly several twitter accounts) and not use any social media or
blogs.
-Will maybe apologize for calling musk all the names that I have called him.
-Be receptive to any other requests that tesla/musk make.

If they don't want to negotiate a settlement, then "so it goes".


-Marty

Sent with ProtonMail Secure Email.

‐‐‐‐‐‐‐ Original Message ‐‐‐‐‐‐‐
On Saturday, September 12, 2020 4:24 AM, Alex Spiro <alexspiro@quinnemanuel.com> wrote:


         Mr. Tripp – is there any update on the funds owed to Tesla? Thank you

         Alex Spiro



         From: MT [mailto:mtprotons@protonmail.com]
         Sent: Saturday, August 15, 2020 3:10 AM
         To: Alex Spiro <alexspiro@quinnemanuel.com>
         Subject: Fw: We are sending you $1,188.29



                                                   [EXTERNAL EMAIL]

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Mr. Spiro,



If it would be alright with you, I will gladly forward these emails to you as I receive them, and
can either hold the funds until a specific dollar value is reached, and then transfer them to you, or
can transfer them immediately. Unfortunately this is my only means of acquiring funds to satisfy
the court sanction at this time.



Please let me know your preference, and how I should complete the transfers. Hopefully there is
a solution in which neither party is required to pay transfer fees.



Thank you.



-Marty



Sent with ProtonMail Secure Email.



‐‐‐‐‐‐‐ Original Message ‐‐‐‐‐‐‐

On Saturday, August 15, 2020 9:00 AM, GoFundMe <messages@gofundme.com> wrote:




          Your money is on the way




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    We are sending $1,188.29 to your bank account. Please note that deposits may take 2–5
    business days to appear in your account.

    If you have questions about withdrawals or have not received your deposit after 5 business da
    you can find answers and contact us 24/7 via the GoFundMe Help Center.




    Download the app

    Easily manage your fundraisers and donations on the go with the GoFundMe app. Learn more




    You received this service notification because it includes important information about your GoFundMe account.




    GoFundMe® 855 Jefferson Ave, PO Box 1329, Redwood City, CA 94063




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